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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                                                                      20-cr-15 (PKC)

                -against-
                                                                         ORDER

VIRGIL GRIFFITH,

                                  Defendant.
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CASTEL, U.S.D.J.:

                Conference is scheduled on February 11, 2021 at 11:00 a.m. The conference will

be held telephonically. The dial-in information is as follows:

                Dial-in:         (888) 363-4749

                Access Code: 3667981#

                SO ORDERED.




Dated: New York, New York
       January 28, 2021
